






TEXAS COUR T OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00111-CV






George H. Gage, Appellant



v.



Ava Arthur and Taneil Gage, Appellees






FROM PROBATE COURT NO. 1 OF TRAVIS COUNTY


NO. 78,585, HONORABLE GUY S. HERMAN, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	On June 30, 2005, this Court sustained the contest to appellant George Gage's
affidavit of indigence.  See Gage v. Gage, No. 03-05-00111-CV, slip op. at 1 (Tex. App.--Austin
June 30, 2005, order).  Appellant was directed to pay our filing fees and to pay for or make payment
arrangements for the clerk's record and reporter's record in this cause. (1)  Id. at 3.  Appellant was
given thirty days to comply with the order or face dismissal.  See Tex. R. App. P. 42.3(b), (c),
37.3(b); see also Olympus/Nelson Prop. Mgmt., 97 S.W.3d 350, 353 (Tex. App.--Houston [14th
Dist.] 2003, order).  Appellant has not complied with our order.  The record has not been filed nor
have payment arrangements for the record been made.  Accordingly, we dismiss the appeal for want
of prosecution.  See Tex. R. App. P. 42.3(b), 37.3(b).



					__________________________________________

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Dismissed for Want of Prosecution


Filed:   October 21, 2005
1.   Those portions of the record relating only to the affidavit of indigence were prepared and
filed without prepayment.  See In re Arroyo, 988 S.W.2d 737, 738-39 (Tex. 1998).  Because the
order sustained the contest to the affidavit, appellant was ordered to pay for those records, which he
has not done.


